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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                            No: 23-2225

                                          Liam Lefebvre

                                                      Appellant

                                                 v.

                               Washington University in St. Louis

                                                      Appellee


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:22-cv-01007-SRC)
______________________________________________________________________________

                                              ORDER

       If the original file of the United States District Court is available for review in electronic

format, the court will rely on the electronic version of the record in its review. The appendices

required by Eighth Circuit Rule 30A shall not be required. In accordance with Eighth Circuit

Local Rule 30A(a)(2), the Clerk of the United States District Court is requested to forward to this

Court forthwith any portions of the original record which are not available in an electronic

format through PACER, including any documents maintained in paper format or filed under seal,

exhibits, CDs, videos, administrative records and state court files. These documents should be

submitted within 10 days.

                                                       May 17, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans


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